
Atkinson, Justice.
In consequence of the engagement of the defendant in his character as guarantor, the plaintiff was induced to extend 'time to the corporation &lt;of which the 'defendant was the president, thus delaying the plaintiff in the prosecution of his rights against the corporation. This, of itself, was a consideration sufficient to support his engagement as guarantor, and to render him liable upon his express contract, to the extent of the sums guaranteed by him, without respect to the ultimate liability of 'the corporation to its ■alleged creditors. The liability of the defendant is obvious; and further than is stated in the first head-note which precedes this opinion, no further examination of the questions is necessary. The court erred in refusing a new trial.

Judgment reversed.

